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Honorable Richard J. Sullivan
United States District Court
Southern District of New York
Court Room 905 –Thurgood Marshall
Courhouse – 40 Foley Square
NewYork, New York

Re:     Abbas v. Orrick, et al. – Case No. 15-cv-1545

Dear J udge Sullivan,

        On March 16, 2016, the Court ordered (Doc. 31) Plaintiff to: (a) file a written
submission by April 1, 2016, to Show Cause as to why the Court should not impose
financial sanctions and require leave from the Court before making future filings, and
(b) to appear for a hearing on April 22, 2016. The Plaintiff filed the required written
Show Cause letter on March 31, 2016 (Doc. 33).

        On April 8, 2018, the Court reset the Show Cause hearing to April 27, 2016 at
1.00pm (Doc. 35). Unfortunately, Plaintiff, Mr. Abbas resides overseas and is unable
to attend the hearing on April 27, 2016.

        Plaintiff respectfully requests to appear by telephone on April 27, 2016,
and/or, alternatively to appear in person at an earlier date, on April 11, 2016, if that
date is convenient and agreeable to the Court, and does not cause any conflict in the
Court’s schedule or calender.

        Respectfully submitted,

        s/Hassan A. Abbas
